                       Case 2:18-cr-00048-LGW-BWC Document 162 Filed 04/17/19 Page 1 of 1
          AO 456 (Rev. 5/85) Notice



                                      United States District Court
                                                Southern District of Georgia
           UNITED STATES OF AMERICA


                                                                                                 NOTICE

                                           v.
           WILBERT LEE STEPHENS, JR.
                                                                            CASE NUMBER:           CR218-48



          TYPE OF CASE:                             CIVIL                     ✘ CRIMINAL

            ✘     TAKE NOTICE that a proceeding in this case has been set for the place date, and time set forth below:

          PLACE                                                               ROOM NO.
                   Federal Courthouse                                                         Courtroom 1
                   801 Gloucester Street
                   Brunswick, GA                                              DATE AND TIME
                                                                                              05/14/2019 at 1:00 pm
          TYPE OF PROCEEDING

           Change of Plea




                  TAKE NOTICE that a proceeding in this case has been continued as indicated below:

          PLACE                                 DATE AND TIME PREVIOUSLY SCHEDULED               CONTINUED TO, DATE AND TIME




                                                                              Scott L. Poff
                                                                             U.S. MAGISTRATE JUDGE OR CLERK OF COURT


           04/17/2019                                                         s/ Whitney Sharp
          DATE                                                               (BY) DEPUTY CLERK

                                                                             Phone No. 912-658-6667
          To
                  Any Lee Copeland
                  Jennifer Kirkland
                  Marcela Mateo
                  USMS
                  USPO
                  CSO's




GAS Rev 2/5/02
